61 F.3d 913
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Juan Carlos GUERRA-RAMOS, Defendant-Appellant.
    No. 94-50237.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Nov. 3, 1994.Submission Withdrawn Nov. 28, 1994.Resubmitted July 17, 1995.Decided July 19, 1995.
    
      Appeal from the United States District Court for the Central District of California, D.C. No. CR-93-01016-WDK-1; William D. Keller, District Judge, Presiding.
      C.D.Cal.
      REMANDED.
      Before:  GIBSON,* HUG, and POOLE, Circuit Judges.
      ORDER
      Juan Carlos Guerra-Ramos appeals from his conviction following the district court's denial of his motion to dismiss and request for discovery of government records to support his claim that his prosecution for being a deported alien found in the United States, 8 U.S.C. Sec. 1326(b)(1), was the result of impermissible selective prosecution on the basis of race.
      After the district court's decision in this case, we decided United States v. Armstrong, 48 F.3d 1508 (9th Cir. 1995) (en banc).  We decline to determine whether the district court must, may, or may not grant discovery on the facts of this case following Armstrong, as we conclude that the issue is properly resolved as an initial matter by the district court.  We therefore remand to the district court for reconsideration under the standard set out in Armstrong.
      REMANDED.
    
    
      
        *
         Honorable Floyd R. Gibson, Senior United States Circuit Judge for the Eighth Circuit Court of Appeals, sitting by designation
      
    
    